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                        UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                                                     No. 2:12-md-02323-AB
IN RE: NATIONAL FOOTBALL
LEAGUE PLAYERS’ CONCUSSION
                                                     MDL No. 2323
INJURY LITIGATION
                                                     Hon. Anita B. Brody
Kevin Turner and Shawn Wooden,
on behalf of themselves and
others similarly situated,
           Plaintiffs,

 v.

National Football League and
NFL Properties LLC,
successor-in-interest to
NFL Properties, Inc.,
           Defendants.


THIS DOCUMENT RELATES TO:
ALL ACTIONS

         SUPPLEMENTAL DECLARATION OF CHRISTOPHER A. SEEGER
                          IN FURTHER SUPPORT OF
              CO-LEAD CLASS COUNSEL’S MOTION TO COMPEL
      (1) CASE STRATEGIES GROUP (F/K/A NFL CASE CONSULTING, LLC),
  IT STRATEGIES GROUP, INC., CRAIG SIENEMA, AND JAMES MCCABE; AND
                 (2) LIBERTY SETTLEMENT SOLUTIONS, LLC,
LIBERTY CONTINGENT RECEIVABLES, LLC, LIBERTY SETTLEMENT FUNDING,
                  JMMHCS HOLDINGS, LLC, MARC HERMES,
                     CRAIG SIENEMA, AND JAMES MCCABE
          TO RESPOND TO THE DISCOVERY REQUESTS PROPOUNDED
         IN ACCORDANCE WITH THE COURT’S ORDER OF JULY 19, 2017

       CHRISTOPHER A. SEEGER declares, pursuant to 28 U.S.C. § 1746, based upon his

personal knowledge, information and belief, the following:
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       1.      Having been appointed as Co-Lead Class Counsel, I am fully familiar with the

matters set forth herein, including the procedural history of this litigation and the class-wide

Settlement that this Court approved on April 22, 2015 (“Settlement”), as well as the facts and

procedural history leading up to the Court’s issuance of the July 19, 2017 Order. I submit this

Supplemental Declaration in further support of Co-Lead Class Counsel’s Motion to Compel (1)

Case Strategies Group (F/K/A NFL Case Consulting, LLC), IT Strategies Group, Inc., Craig

Sienema, and James McCabe; and (2) Liberty Settlement Solutions, LLC, Liberty Contingent

Receivables, LLC, Liberty Settlement Funding, JMMHCs Holdings, LLC, Marc Hermes, Craig

Sienema, and James McCabe to Respond to the Discovery Requests Propounded in Accordance

with the Court’s Order of July 19, 2017.

       2.      Attached hereto as Exhibit A is the letter, dated May 17, 2017, from Richard L.

Scheff, counsel for Case Strategies Group (f/k/a NFL Case Consulting, LLC), IT Strategies Group,

Inc., Craig Sienema, and James McCabe (“CSG Entities”) and Liberty Settlement Solutions, LLC,

Liberty Contingent Receivables, LLC, Liberty Settlement Funding, JMMHCs Holdings, LLC,

Marc Hermes, Craig Sienema, and James McCabe (“Liberty Entities”).

       3.      Attached hereto as Exhibit B is an exemplar of the Interrogatories propounded by

Co-Lead Class Counsel (“Class Counsel’s Interrogatories”) upon the seven law firms identified by

the CSG Entities as being in their “network,” dated July 28, 2017.

       4.      Attached hereto as Exhibit C is the Response to Class Counsel’s Interrogatories by

McMullin & Associates.

       5.      Attached hereto as Exhibit D is the Response to Class Counsel’s Interrogatories by

the Dutton Law Group.




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       6.      Attached hereto as Exhibit E is the Response to Class Counsel’s Interrogatories by

Reich & Binstock, LLP, with the names of their Class Member clients redacted.

       7.      Attached hereto as Exhibit F is the Response to Class Counsel’s Interrogatories by

The Law Office of Ronald T. Bevans, with the names of their Class Member clients redacted.

       8.      Attached hereto as Exhibit G is Response to Class Counsel’s Interrogatories by

McCall | Atten, which produced its clients’ retainer agreements in redacted format.

       9.      Attached hereto as Exhibit H is the email from Jesse Dean-Kluger transmitted as

the response to Class Counsel’s Interrogatories, with the names and other identifying information

regarding the firm’s Class Member clients redacted.

       10.     Attached hereto as Exhibit I are the Objections to Class Counsel’s Interrogatories

by Farrell & Patel.



I declare under penalty of perjury that the foregoing is true and correct.

Dated: September 5, 2017


                                              /s/ Christopher A. Seeger
                                              CHRISTOPHER A. SEEGER
                                              Co-Lead Class Counsel




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